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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIYISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                           NO. l:20-CR-032-01-H

GEOFFREY WILLIAM HUPP (1),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMEIYDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE
                           CONCERIVING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Gui1ry, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(bX1), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.
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         Dated September o   \   .2020



                                            JAM     WESLEYHENDRIX
                                                    D STATES DISTRICT ruDGE
